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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 In re: Equifax Inc. Customer               MDL Docket No. 2800
 Data Security Breach Litigation            No. 1:17-md-2800-TWT

                                            CONSUMER ACTIONS

                                            Chief Judge Thomas W. Thrash, Jr.

   NOTICE OF FILING DECLARATION OF JENNIFER M. KEOUGH
  ENCLOSING OBJECTIONS AND OPT-OUT REQUESTS RECEIVED

      Court-appointed Co-Lead Counsel and the Plaintiffs’ Steering Committee for

the Consumer Track in this multidistrict action are, contemporaneously with this

notice, filing the Declaration of Jennifer M. Keough Enclosing Objections and Opt-

Out Requests Received. The Declaration encloses all objections to and opt-outs

from the proposed Settlement received to date, regardless of whether or not they

conform to the requirements of the Court’s Order Directing Notice [Doc. 742].

      Respectfully submitted this 5th day of December, 2019.

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            LR 7.1(D) CERTIFICATE OF FONT COMPLIANCE

      I hereby certify that the foregoing has been prepared with one of the font and

point selections approved by the Court in Local Rule 5.1(C), Northern District of

Georgia, specifically Times New Roman 14 point.


                                      /s/ Amy E. Keller
                                      Amy E. Keller




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                       CERTIFICATE OF SERVICE

      I hereby certify that on December 5, 2019, a copy of the Notice of Filing

Declaration of Jennifer M. Keough Enclosing Objections and Opt-Out

Requests Received was electronically filed with the Clerk of Court using the

CM/ECF system which will automatically send notification of such filing to all

attorneys of record.

                                    /s/ Amy E. Keller
                                    Amy E. Keller




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